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FILED

IN THE UNITED STATES DISTRICT COURT JAN 11 2022
FOR THE DISTRICT OF COLUMBIA Clerk, U.S. Distri =
Bankruptcy Courts

UNITED STATES OF AMERICA — : Case No: 21-cr-596-2 (BAH)

40 U.S.C. § 5104(e)(2)(G)
V.
JEAN LAVIN,

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Jean Lavin, with the concurrence of her attorney, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S, Capitol on January 6, 2021

Ll; The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2 On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
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3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Krzywicki’s Participation in the January 6, 2021, Capitol Riot
8. Lavin travelled with her daughter and co-defendant, Carla Krzywicki, from
Connecticut to Washington, D.C. on January 6, 2021 to attend the rally for then-President Trump
at the Ellipse. They arrived in Washington, D.C. at approximately | p.m. and followed the
crowd to the Capitol. Lavin and her daughter entered the Capitol grounds at approximately 1:22
p.m. after going around a pedestrian barricade. On the Capitol grounds, Lavin observed tear gas
being deployed and heard explosions from percussion grenades used by police to keep the rioters

back. At approximately 2:16 p.m., Lavin and her daughter climbed a bike rack that rioters had

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repurposed from barricades to ladders and placed against the Capitol terraces, allowing them to
access the Capitol building. As Lavin approached the Senate Wing Door, she observed the door
and the windows near the door were already damaged.

9. Upon entering the Capitol through the Senate Wing Door at approximately 2:24
p.m., Lavin and Krzywicki turned right and proceeded into the Capitol Crypt, where a line of
police officers was blocking people from proceeding further. The crowd in the Crypt pushed
past the police officers and Lavin and Krzywicki proceeded to the Crypt Lobby, down to
Orientation Lobby, but then returned to the Crypt Lobby at approximately 2:46 p.m. and then to
the Crypt at approximately 2:47 p.m.

10. Lavin and Krzywicki returned to the Northwest Corridor at approximately 2:48
p.m., where they witnessed the violent second breach of the Senate Wing Door by rioters. Lavin
and Krzywicki exited the Capitol through the Senate Wing Door at approximately 2:56 p.m.
Throughout her time on the Capitol grounds and in the Capitol Building, Lavin carried a sign
that read on one side, “Trump Won” and on the opposite side, “Don’t allow 7 states of cheaters
to hijack our election!”

11. Lavin knew at the time she entered the U.S. Capitol Building that that she did not
have permission to enter the building and Lavin paraded, demonstrated, or picketed.

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

By:  /s/ Douglas G. Collyer

Douglas G. Collyer
Assistant United States Attorney

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Offense and have reviewed It with my

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